                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    OLD LC, INC., et al.,1                                             Case No. 19-11791 (BLS)

                                      Debtors.                         Jointly Administered


    Official Committee of Unsecured Creditors of Old                   Adv. No. 20-51002 (BLS)
    LC, Inc., et al., for and on behalf of the estates of
    Old LC, Inc., et al.;

                                      Plaintiff,
    v.

    Upfront V, LP, Breakwater Credit Opportunities
    Fund, L.P.; Upfront GP V, LLC; Mark Suster;
    Dana Kibler; Gregory Bettinelli; Saif Mansour;
    Aamir Amdani; Eric Beckman; Darrick Geant; and
    Joseph Kaczorowski

    REQUEST FOR ORAL ARGUMENT ON MOTION OF UPFRONT V, L.P., UPFRONT
     GP V, LLC, MARK SUSTER, DANA KIBLER AND GREGORY BETTINELLI TO
     DISMISS FIRST AMENDED COMPLAINT AND OBJECTION TO CLAIMS AND
          MOTION TO STRIKE PRAYER FOR COMPENSATORY DAMAGES

                  Pursuant to Rule 7007-3 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, defendants Upfront V, L.P.,

Upfront GP V, LLC, Mark Suster, Dana Kibler and Gregory Bettinelli (collectively, the “Upfront

Defendants”), hereby request that the Court permit oral argument on the Motion of Upfront V, L.P.,

Upfront GP V, LLC, Mark Suster, Dana Kibler and Gregory Bettinelli to Dismiss First Amended




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   The Debtors are the following four entities (the last four digits of their respective taxpayer identification numbers,
if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc. and Old LC Parent, Inc.
The Debtors’ noticing address in these Chapter 11 cases is 3401 Pasadena Ave, Los Angeles, CA 90031.



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Complaint and Objection to Claims and Motion to Strike Prayer For Compensatory Damages

[Adv. Docket No. 35] (the “Motion”) and all responsive pleadings thereto.

                 The Upfront Defendants respectfully submit that oral argument is appropriate

because the Motion presents substantial legal issues and oral argument would allow the parties to

clarify the legal, factual or procedural points raised in the Motion and other responsive pleadings.



 Dated: May 3, 2021                          PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Colin R. Robinson
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